                Case 3:11-cr-30010-PKH                   Document 55          Filed 06/06/12                             Page(NOTE:
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                                                                                                                                    Identify Changeswith Asterisks(*))
sAO 245C (Rev.06/05)AmendedJudgmentin a Criminal Case
                    SheetI



                                           UNrrBrSrnrnsDrsrnrcrCoURT
                             WESTERN                                 Districtof                                                    ARKANSAS

              LTNITEDSTATESOF AMERICA                                         AMENDED JUDGMENT IN A CRIMINAL CASE
                               V.
                                                                              CaseNumber:                                    3:l lCR300l0-002
      LUISHUMBERTOHERMOSILLA-SANTIZO
                                                                              USM Number:
Date of Original Judgment: June4.2012                                         W. Blair Bradv
(Or Date of Last Amended Judgment)                                            Defendant'sAttorney

Reasonfor Amendment:
!                        on Remand(18 U.S.C.3742(0(l) and (2))
     Correctionof Sentence                                                    n    Modificationof SupervisionConditions(l 8 U.S.C.$$ 3563(c)or 3583(e))

I    Reductionof Sentence                       (Fed.R. Crim.
                         for ChangedCircumstances                             E    Modificationof ImposedTerm of Imprisonmentfor Extraordinaryand
     P .3 5 ( b )                                                                  CompellingReasons( I 8 U.S.C.$ 3582(cXI ))

I                       by SentencingCourt (Fed.R. Crim. P. 35(a))
     Conectionof Sentence                                                     !    Modificationof ImposedTerm of Imprisonmentfor RetroactiveAmendment(s)
                                                                                                              g u i d e l i n e(s1 8 U . S . C .$ 3 5 8 2 ( c ) ( 2 ) )
                                                                                   t o t h e S e n t e n c i nG
X                        for ClericalMistake(Fed. R. Crim. P. 36)
     Correctionof Sentence
                                                                              E    Direct Motion to District Court Pursuant n                            ZS U.S.C.$ 2255 or
                                                                                   E l 8 u . S . C .$ 3 s 5 9 ( c X 7 )
                                                                              fl   Modificationof RestitutionOrder (18 U.S.C.$ 3664)


THE DEFENDANT:
X     pleadedguiltyto count(s) Three(3) of the Indictmenton Februarv13.2012
D     pleadednolo contendereto count(s)
      which was acceptedby the court.
tr    wasfoundguiltyon count(s)
    aftera pleaof not guilty.
The defendantis adjudicated  guilty ofthese offenses:
Title & Section                     Nature of Offense                                                                           OffenseEnded                              Count

2l U.S.C.$ 8al(aX1)                          with Intentto DistributeMethamphetamine
                                    Possession                                                                                       081t912011                            3'k




                               as providedin pages2
       The defendantis sentenced                              5          of thisjudgment. The sentenceis imposedwithin the
statutoryrangeandthe U.S. SentencingGuidelineswere          as
                                                   considered  advisory.
tr    The defendanthasbeenfoundnot guilty on count(s)
X     Count(s) One( | ), andthe ForfeitureAllegation                 aredismissedon the motion of the UnitedStates.
                                                                                                                    of name,residence,
         It is orderedthatthedefendantmustnotify theUnitedStatesAttomeyfor this districtwithin 30 daysof any c-harlge
or mailineaddress                                                   imposed
                                            costs,indspecialassessments
                   untilall fines.restitution,                              by thisjudgmentarefully paid. If ordered  to payrestltutlon'
thedefenzant    mustnotifythecourtandUnitedStatesattorneyof materialchanges  in economiccircumstances.
                                                                    June6.2012
                                                                    Dateof Impositionof Judgment

                                                                              /S/ P. K. Holmes.III
                                                                              SignatureofJudge
                                                                              HonorableP. K. Holmes,III, Chief United StatesDistrictJudee
                                                                              Name and Title of Judge

                                                                              J u n e6 . 2 0 1 2
                                                                              Date
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AO 245C     (Rev.06/05)AmendedJudsmentin a Criminal Case
            Sheet2 - Imprisonmenl                                                                  (NOTE: Identify Changeswith Asterisks(+))
                                                                                               Judgment-Page -\           of          5

  DEFENDANT:                  LUIS HUMBERTO HERMOSILLA-SANTIZO
  CASENUMBER:                 3:l lCR30010-002

                                                           IMPRISONMENT

       The defendantis herebycommittedto the custodyof the UnitedStatesBureauof Prisonsto be imprisonedfor a
  total term of ninety-seven(97) months.




  f]                                            to the Bureauof Prisons:
       The courtmakesthe following recommendations




  X    The defendantis remandedto the custodyof the United StatesMarshal.

  !    The defendantshallsunenderto the UnitedStatesMarshalfor this district:

       ! a t                                     n    a.m.    !    p.m.      on

       tr     as notifiedby the UnitedStatesMarshal.

  !                                                                               by the BureauofPrisons:
       The defendantshallsurrenderfor serviceofsentenceat the institutiondesignated

       n      before2 p.m.on

       tr     as notifiedby the United StatesMarshal.

       n      asnotifiedby the Probationor PretrialServicesOffice.



                                                                  RETURN
  I haveexecutedthisjudgmentas follows:




       Defendantdeliveredon

                                                      with a certifiedcopy of thisjudgment.




                                                                                              UNITEDSTATESMARSHAL


                                                                      By
                                                                                          DEPUTY UNITED STATES MARSHAL
             Case 3:11-cr-30010-PKH                 Document 55             Filed 06/06/12          Page 3 of 5 PageID #: 144
AO 245C        (Rev.06/05)AmendedJudgmentin a CriminalCase
               Sheet3 - Suoervised
                                 Release                                                                   (NOTE: Identify Changeswith Asterisks(*))
                                                                                                        Iudgment-Page       3      of         5

DEFENDANT:  LUISHUMBERTOHERMOSILLA-SANTIZO
CASENUMBER: 3:l 1CR30010-002
                             SUPERVISED RELEASE

Upon releasefrom imprisonment, the defendantshallbe on supervised releasefor a term of :
Three (3) years,which term shallcommenceimmediately   upon his releasefrom imprisonment, and which shallbe servedunderthe
followihdcondifions:




       The defendantmustreDortto the probationoffice in the district to which the defendantis releasedwithinT2 hoursof releasefrom the
custodyof the Bureauof Prisoris.
The defendantshallnot commitanotherfederal,state,or local crime.
The defendantshallnot unlawfullypossess a controlledsubstance.The defendantshallrefrainfrom any unlawfuluseof a controlled
ilLrta"ie.-the deiendanishattsriUmitto one drugtestwithin l5 daysof releasefrom imprisonmentanil at leasttwo periodicdrug tests
thereafter,as determinedby the court.
!         The abovedrugtestingconditionis suspended,                             that the defendantposesa low risk of
                                                  basedon the court'sdetermination
                        abuse.(Check,if applicable.)
          futuresubstance
X         The defendantshallnot possessa firearm,ammunition,destructivedevice,or any otherdangerousweapon. (Check,if applicable.)

X         The defendantshallcooperatein the collectionofDNA asdirectedby the probationofficer. (Check,ifapplicable.)

!         The defendantshall registerwith the statesex offenderregistrationagencyin the statewherethe defendantresides,works, or is a
          student,as directedby the probationofficer. (Check,ifapplicable.)
!         The defendantshallparticipatein an approvedprogramfor domesticviolence.(Check,ifapplicable.)
                                                                                releasethat the defendantpay in accordance
      If this iudgmentimposesa fine or restitution,it is a conditionof supervised                                        with the
       of Paymeitssheet'ofthisjudgment.
Schedule
         Thedefendantmustcomplywith the standardconditionsthathavebeenadoptedby thiscourtaswell aswith anyadditionalconditions
on the attachedpage.

                                       STANDARD CONDITIONS OF SUPERVISION
     l)    the defendantshallnot leavethejudicial districtwithoutthe permissionof the court or probationofficer;
     2)    the defendantshall report to the probationofficer and shall submit a truthful and completewritten report within the first five daysof
           eachmonth;
     3 ) the defendantshallanswertruthfully all inquiriesby the probationofficer and follow the instructionsofthe probationofficer;
                                                     andmeetotherfamily responsibilities;
     4) the defendantshallsupporthis or her dependents
           the defendantshall work regularlyat a lawful occupation,unlessexcusedby the probationofficer for schooling,training,or other
                    reasons;
           acceptable
     6) the defendantshallnotify the probationofficer at leastten daysprior to any changein residenceor employment;
     7) thedefendant                       useofalcoholandshallnot purchase,
                  shallrefrainfrom excessive                              possess,                        any
                                                                                              or administer
                                                                                use,distribute,
                            or anyparaphemalia
                    substance
           controlled                       relatedto anycontrolledsubstances,                by a physician;
                                                                            eiceptas prescribed
                                                                    areillegally sold,used,distributed,or administered;
     8) the defendantshallnot frequentplaceswherecontrolledsubstances
     e) the defendantshallnot associatewith any personsengagedin criminalactivityandshallnot associatewith any personconvictedof a
           felony,unlessgrantedpermissionto do so'bythe probalionofficer;
    l 0 ) the defendantshallpermita probationofficer to visit him or her at any time at homeor elsewhereandshallpermitconfiscationof any
                           in nlainview ofthe probationofficer;
                    observed
           contraband
    ll)               shallnotify theprobationofficerwithin seventy-twohoursofbeing arrestedor questioned
           thedefendant                                                                                                    officer;
                                                                                                        by a law enforcement
    12) the defendantshall not enterinto any agreementto act as an informeror a specialagentof a law enforcementagencywithout the
           permission
                    of thecourt;and
    ti\    asdirectedbv theprobationofficer.thedefendantshallnotifothirdpartiesof risksthatmay beoccasioned  by thedefendant'scriminal
           iecord.peisonal                        andshallpermitthe probalionofficerto makesulh notificationsaridconfirmthedefendant's
                          history,or charactdristics
          Case   3:11-cr-30010-PKH               Document 55                  Filed 06/06/12         Page 4 of 5 PageID #: 145
AO 245C    (Rev.06/05)AmendedJudgmentin a Criminal Case
           Sheet5 - Criminal Monetary Penalties                                                           (NOTE: IdentifyChangeswith Asterisks(*))

                                                                                                 Judgment-   Page :!-of                   5
DEFENDANT:                     LUISHUMBERTOHERMOSILLA-SANTIZO
CASENUMBER:                    3:llCR300l0-002
                                           CRIMINAL MONETARY PENALTIES
     The defendantmustpay the following total criminalmonetarypenaltiesunderthe scheduleof paymentson Sheet5.
                   Assessment                                            Fine                            Restitution
TOTALS           $ 100.00                                        $       5,000.00                      $ -0-


n                    of restitutionis deferreduntil
     The determination                                               An AmendedJudgmentin a Criminal Case(AO 245C) will be
     enteredaftersuchdetermination.

tr   The defendantshallmakerestitution(includingcommunityrestitution)to the following payeesin the amountlistedbelow.

     lf the defendantmakesa partialpavment.eachpayeeshallreceivean approximatelyproportionedpayment,unlessspecifiedotherwisein
     the priorityorderor perc6ntage                                                                        victimsmustbe paid
                                   ilaymentcoluninbelow. However,puisuantto |8 U.S.C.$ 3664fi),'allnonfederal
     beforethe UnitedStatesis oald.-

Name of Pavee                            Total Loss*                            RestitutionOrdered                  Prioritv or Percentage




TOTALS


!    Restitutionamountorderedpursuantto plea agreement $

tr   The defendant mustpay intereston restitutionand a fine of morethan$2,500,unlessthe restitutionor fine is paid in full beforethe
     fifteenthday afterthe dateof thejudgment,pursuantto l8 U.S.C.$ 3612(0. All of the paymentoptionson Sheet6 may be subject
     to penalties
                for delinquency anddefault,pursuantto l8 U.S.C.$ 3612(g).

     The courtdeterminedthat the defendantdoesnot havethe ability to pay interest,and it is orderedthat:

     X    the interestrequirementis waivedfor       X     fine       !    restitution.

     I    the interestrequirementfor the    tr    fine      !    restitutionis modifiedas follows:



* Findingsfor thetotalamou-nt                   underChapters109A, I 10,I l0A, and I I 3,{ of Title I 8 for offensescommittedon or after
                            of lossesarere,quired
Septemb'er 13, 1994,but before April23, 1996.
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AO 245C       (Rev.06/05)AmendedJudgmentin a CriminalCase
              Sheet6 - Scheduleof Payments                                                         (NOTE: IdentifyChangeswith Asterisks(*))
                                                                                                Iudgment- Page      5      of        5
DEFENDANT:                  LUIS HUMBERTO HERMOSILLA-SANTIZO
CASENUMBER:                 3:11CR30010-002

                                                   SCHEDULE OF PAYMENTS

             the defendant'sability to pay,paymentof the total criminalmonetarypenaltiesshallbe due as follows:
Havingassessed

A    X    Lump sumpaymentof $           5,100.00             due immediately.

          n      not later than                                  oof

          tr     in accordance
                            with n         C,   tr D,       tr   E, or   I F below;or
B t r Payment               (maybecombined
           to beginimmediately           with                            n C,    I D, or   ! F below);or

c n Paymentin equal                           (e.g.,weekly,monthly,quarterly)installmentsof $                    overa periodof
                          (e.g.,monthsor years),to commence              (e.g.,30 or 60 days)afterthe dateof thisjudgment;or

D    !    Paymentin equal                 (e.g.,weekly,monthly,quarterly)installmentsof $                over a periodof
                      (e.g.,monthsor years),to commence              (e.g.,30 or 60 days)afterreleasefrom imprisonment to a
          term ofsupervision;or

     n Paymentduringthe term of supervisedreleasewill commencewithin               (e.g.,30 or 60 days)afterreleasefrom
          imprisonment.The courtwill setthe       plan
                                            payment    basedon an         of
                                                                  assessment the defendant'sability to pay atthattime; or

     n Specialinstructionsregardingthe paymentof criminalmonetarypenalties:


Unlessthecourthasexpresslv
                         ordered         if thisiudsmentimposes
                                 otherwise.                    imprisonment,                       penalties
                                                                          paymentof criminalmonetary        is dueduring
                         All criminalmonetarypdnaliies,
the periodof imprisonhent."                           exctiptthose'payments                           of Prisons'Inmate
                                                                         niadethroughthe FederalBuie-au
                      Program,aremadeto theelerkof thecourf.
FindncialRespoirsibility

The defendantshallreceivecreditfor all paymentspreviouslymadetowardany criminalmonetarypenaltiesimposed.



n    JointandSeveral

                            Namesand CaseNumbers(includingdefendantnumber),Joint and SeveralAmount,andcorresponding
     DefendantandCo-Defendant
     payee,if appropriate.




!    The defendantshallpay the cost ofprosecution.

tr   The defendantshallpay the following courtcost(s):

!    The defendantshallforfeit the defendant'sinterestin the following propertyto the UnitedStates:



Pavmenrs  shallbe appliedin thefollowinqorder:(l) assessment,(2) restitution                               (4) fine principal.
                                                                           principal,(3) restitutioninterest.
                (6)'cbmmunity
(5ifine inrerest,                                    and(8) costs,includinjcostbi prosecution
                                         (7) penalties.
                              restitutiofi',                                                    andcourtcosts.
